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REVISED(USM)) ..
Case 2:99-cr-20220-BBD Document 102 Filed 08/31/05 Page 1 of 4 Page|D 96
UNITED STATES DISTRICT COURT

§§ D.C.

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wEsTERN DISTRICT oF TENNESSE§ mg 31 ppg m 51,

WESTERN DIvIsIoN UOMAS M. GGULD
CLEHK Ufi EYSHQT COURT
U.s.A. vs. Edwara Bishop ll$b%két Nil?£i§swcnzozzo-oz

Petition on Probation and Supervised Release

COMES NOW DAWN L. BROWN PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Edward Bishop, who was placed on supervision by the Honorable Bernice
B. Donald sitting in the Court at Memphis, 'I`ennessee , on the lOth day of lanning , ;Q_Qg, who fixed the period
of supervision at three(3 [ years*, and imposed the general terms and conditions theretofore adopted by the Court.
and also imposed Special Conditions and terms as follows:

 

 

l. The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the
Probation Ofticer for the treatment of narcotic addiction or drug or alcohol dependency which may include
testing for the detection of substance use or abuse.

* Term of Supervised Release Began: July 31, 2003

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT F()R CAUSE AS FOLLOWS:
The Defendant Has Violated The Following Conditions Of His Supervision

The defendant shall not illegally possess a controlled substance

Despite completion of drug treatment on May 18, 2004, and again on March 22, 2005 at the A]cohol and Chemical

Abuse Rehab Center, Edward Bishop submitted urine screens which tested positive for Cocaine on October 27, and
November 15, 2004 as well as May18 and July 6, 2005.

PRAYING THAT THE COURT WILL ORDER a Summons be issued for Edward Bishop to appear before the
Court to answer charges of violation of Supervision.

ORDER OF COURT I declare under penalty of perjury that the
foregoing is true and correct.

Considered and ordered Q+¢\ day '
of , 2(]¢2 land ordered
filed an ade a part of the records in
the abov .

 
  
  

 

 

    

States Dis ' Judge ( Place: Memnhis. TN 38103

This document entered on the docket sh c pl|
with Flu|e 55 end/cr 32{b) FHCrP on M`J

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VIOLATION WORKSI-IEET

 

 

 

 

 

1. Defendant Edward Bishop (4305 Wendy Lou, Memphis, TN 38116)
2. Docket Number (Year-Sequence-Defendant No.) 2:99CR20220-02
3. District/Offiee Western District of Tennessee (Memphis)
4. Original Sentenee Date _(_)_1___ /Ll M
month day year
(Ifdin'erem than above):
5. 0riginal District/Office
6. Original Docket Number (Year-Sequenee-Defendant No.)
7. List each violation and determine the applicable grade w §7B1.I}:

10.

ll.

Violation§s} Grade
Illega_lly possess/use of a controlled substance B

 

 

 

 

 

 

 

 

Most Serious Grade of Violation (§e_e_ §7Bl.l(b)) B
Criminal History Category (B §7B l .4(a))74 IV
Range of imprisonment (s_ee_§7B1.4(a)) 12 - 18 months

 

 

 

Statutory Maximum: Five Years

Sentencing Options for Grade B and C Violations Only (Chcck the appropriate box):

{ } (a)lfthe minimum term of imprisonment determined under §7Bl.4 (Term of Imprisonment) is at least one month but
not more than six months, §7Bl.3(c)(]) provides sentencing options to imprisonment

{ } (b)Ifthe minimum term of imprisonment determined under §7B1.4 (Term of Imprisonment) is more than six months
but not more than ten months, §7Bl .3(c)(2) provides sentencing options to imprisonment

{x } (c)Ifthe minimum term of imprisonment determined under §7B1.4 (Term of Irnprisonment) is more than ten months,
no sentencing options to imprisonment are available

Mlil documents to: United States Senteneing Commission, 1331 Pennsy|vania Avenue, N.W
Suite 1400, Washilgtoo, D.C., 20004, Attention: Monitoring Unit

12.

13.

14.

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Defendant Edward Bishop

Unsatislied Conditions of Original Sentence

List any restitution, fine, community confinement, home detention, or intermittent confinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {W §’IBI .3(d)}:

 

 

 

 

Restitution ($) N/A Community Coniinement N/A
Fine ($) N/A Home Detention NfA
Other N/A Intermitteut Confinement N/A

 

 

Supervised Release

If probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of
§§5DI.1-l.3{@ §§7B1.3(g)(l)}.

Term: to years
lf supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment
impossible upon revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon

release from imprisonment {§§g 18 U.S.C. §3583(e) and §7Bl.3(g)(2)}.

Period of supervised release to be served following release from imprisonment:

 

Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

Official Detention Adjustment {B §?Bi.S(e)}: months days

Mail documents to: United States Senteoeiog Commission, 1331 Pennsylvania Aveoue, N.W.
Suite 1400, Washingtoo, D.C., 20004, Attention: Monitoring Unit'

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 102 in
case 2:99-CR-20220 Was distributed by faX, mail, or direct printing on
Septcmber 7, 2005 to the parties listed.

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

